
Steven H. David, Acting Chief Justice of Indiana
On September 28, 2017, pursuant to Indiana Admission and Discipline Rule 23 (10.1)(c)(2), this Court suspended Respondent from the practice of law in this State for failing to cooperate with the Indiana Supreme Court Disciplinary Commission concerning a grievance, No. 17-0359 , filed against Respondent. The Commission has now moved to convert Respondent's suspension to an indefinite suspension from the practice of law pursuant to Admission and Discipline Rule 23 (10.1)(c)(4). Respondent has not responded to the Commission's motion to convert the current suspension.
The Court finds that more than ninety (90) days have passed since Respondent was suspended due to noncooperation with the disciplinary process. Accordingly, the Court concludes that Respondent's suspension should be converted to an indefinite suspension from the practice of law pursuant to Admission and Discipline Rule 23 (10.1)(c)(4).
IT IS THEREFORE ORDERED that Respondent's current suspension from the practice of law for failure to cooperate with the disciplinary process is converted to an indefinite suspension, effective immediately. Respondent is ordered to fulfill the continuing duties of a suspended attorney under Admission and Discipline Rule 23(26). To be readmitted to the practice of law in this State, Respondent must cure the causes of all suspensions in effect and successfully petition this Court for reinstatement pursuant to Admission and Discipline Rule 23(18)(b).
All Justices concur, except Rush, C.J., who is not participating.
